DATE: March 1, 2022


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Michael B. Yourko
             v. Lee Ann B. Yourko
             Record No. 0363-21-1
             Opinion rendered by Judge Friedman on
              December 21, 2021

          2. Ashley Elizabeth Esposito
             v. Virginia State Police
             Record No. 0090-21-3
             Opinion rendered by Judge Humphreys on
              January 11, 2022
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Lemar Jason McDaniel, Jr.
    v. Commonwealth of Virginia
    Record No. 0153-20-2
    Opinion rendered by Chief Judge Decker
       on June 29, 2021
    Refused (210720)

2. Justin Blake Cox
    v. Commonwealth of Virginia
   Record No. 1360-20-4
    Opinion rendered by Judge Huff
     on July 6, 2021
    Refused (210752)

3. Kelly Lamont Poole
   v. Commonwealth of Virginia
   Record No. 1177-20-1
   Opinion rendered by Judge Malveaux
    on July 20, 2021
   Refused (210729)

4. Ronnie Lee Johnson
   v. Commonwealth of Virginia
   Record No. 0443-20-2
   Opinion rendered by Judge Atlee
    on July 27, 2021
   Refused (210810)
       On February 3, 2022, the Supreme Court issued an opinion in the following case, which had
been appealed from this Court

    1. Julio Cortez-Rivas
        v. Commonwealth of Virginia
        Record No. 2045-19-4
        CAV petition for appeal denied by Judge Beales on August 31, 2020
          and by Judges Humphreys, Petty and Huff on December 2, 2020
        Judgment of Court of Appeals affirmed
        (210011)
